Case 5:10-cr-00038-R Document11 Filed 01/25/10 Page 1 of 2

AO 472 (Rev. 3/86) Order of Detention Pending Trial

United States District Court

WESTERN __ DISTRICT OF__OKLAHOMA

 

UNITED STATES OF AMERICA
Vv. ORDER OF DETENTION PENDING TRIAL

CHARLES ALAN DYER CASE NUMBER: M-10-36-BA

Defendant

in accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. | conclude that the following facts
require the detention of the defendant pending trial in this case.

Part | - Findings of Fact

[1 (1) Thedefendantis charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal offense)(state
or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
a crime of violence as defined in 18 U.S.C. §3156(a)(4).
an offense for which the maximum sentence is life imprisonment or death.
an offense for which a maximum term of imprisonment of ten years or more is prescribed in

 

x

O a felony that was committed after the defendant had been convicted of two or more pnor federal offenses described in 18
U.S.C. §3142(f)(1)(A){C), or comparable state or local offenses.

[1 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
offense.

(1 (3) Aperiod of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
the offense described in finding (1).

1 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
assure the safety of (an)other person(s) and the community. | further find that the defendant has not rebutted this presumption.

 

Alternative Findings (A)
[1 (1) There is probable cause to believe that the defendant has committed an offense
for which a maximum term of imprisonment of ten years or more is prescribed in
QO under 18 U.S.C. § 924(c).
[1 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions
will reasonably assure the appearance of the defendant as required and the safety of the community.

 

Alternative Findings (B)
(1) There is a serious risk that the defendant will not appear.

O

~

(2) There is a serious risk that the deferidant will endanger the safety of ariother person or the community.

 

Part ll - Written Statement of Reasons for Detention

The Court finds by clear and convincing evidence that no combination of conditions could reasonably assure
community safety. The government presented strong evidence that the Defendant possessed a grenade launcher, which
created extraordinary public danger. The Defendant presented testimony by the Defendant’s mother, who would appear
to be a highly trustworthy third-party custodian. However, the Defendant’s apparent possession of a grenade launcher,
without any known lawful purpose, would create an extraordinary danger to public safety. That danger could not be
sufficiently mitigated by the participation of a third-party custodian, however suitable and trustworthy that she would
otherwise be.
Case 5:10-cr-00038-R Document11 Filed 01/25/10 Page 2 of 2

Part III - Directions Regarding Detention

The defendant is committed to the custody of the Attorney General or his designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in
custody pending appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of a court of the United States or on request of an attorney for the Government, the person in charge
of the corrections facility shall deliver the defendant to hd States marshal for the purpose of an appearance in

connection with a court proceeding. Ss
Signature of Judicial Officer

ROBERT E. BACHARACH
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 ef seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq.);
or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).

Dated: 1/25/10

 
